Case 1:19-cv-02367-ABJ   Document 153-9   Filed 10/31/24   Page 1 of 2




      Strzok v. Garland, et al., No. 1:19-cv-2367-ABJ (D.D.C.)




              Plaintiff’s Exhibit 45

To Plaintiff’s Summary Judgment Memorandum
Case 1:19-cv-02367-ABJ           Document 153-9         Filed 10/31/24   Page 2 of 2
                                                                                    PLAINTIFF'S
                                                                                      EXHIBIT


                                                                                   JO '1'"23

               Donald J. Trump
               @realDonaldTrump    Follow
                                                                              x
     Lisa Page, who may hold the record for the most Emails in
     the shortest period of time (to her Lover, Peter 5), and
     attorney Baker, are out at the FBI as part of the Probers
     getting caught? Why is Peter Sstill there? What atotal
     mess. Our Country has to get back to Business!
     9:29 AM    May 7, 2018
                                                                              0
         52K      0   Reply      r Share


                                   Read 12.7K replies




                                                                 PSTRZOK- DOJ-000 14250
